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 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     KENNETH DAVIDSON,                           Case No.:
11
                 Plaintiff,                      COMPLAINT FOR INJUNCTIVE
12                                               RELIEF AND DAMAGES FOR
           vs.                                   VIOLATION OF:
13
                                                 1. AMERICANS WITH DISABILITIES
14   BOBOS CORP. D/B/A BOBOS                     ACT, 42 U.S.C. §12131 et seq.;
15   BURGERS; ALEXANDRA YORTZIDIS                2. CALIFORNIA’S UNRUH CIVIL
     SARGIANIDES; and DOES 1 to 10,              RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                               52 et seq.;
                 Defendants.
17                                               3. CALIFORNIA’S DISABLED
                                                 PERSONS ACT, CAL CIV. CODE §54 et
18                                               seq.
19                                               4. CALIFORNIA’S UNFAIR
                                                 COMPETITION ACT, CAL BUS & PROF
20                                               CODE § 17200, et seq.
21                                               5. NEGLIGENCE
22
23
24         Plaintiff KEENETH DAVIDSON (“Plaintiff”) complains of Defendants BOBOS
25   CORP. D/B/A BOBOS BURGERS; ALEXANDRA YORTZIDIS SARGIANIDES; and
26   DOES 1 to 10 (“Defendants”) and alleges as follows:
27
28




                                  COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, Los Angeles County,
10   California, and that Plaintiff’s causes of action arose in this district.
11                                             PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk. Plaintiff suffers from paraplegia due to T12 vertebrae
14   thoracic spinal cord injury and requires the use of a wheelchair at all times when
15   traveling in public.
16         5.     Defendants are, or were at the time of the incident, the real property owners,
17   business operators, lessors and/or lessees of the real property for BOBOS BURGERS
18   (“Business”) located at or about 13433 Van Nuys Blvd., Pacoima, California.
19         6.     The true names and capacities, whether individual, corporate, associate or
20   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
21   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
22   Court to amend this Complaint when the true names and capacities have been
23   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
24   fictitiously named Defendants are responsible in some manner, and therefore, liable to
25   Plaintiff for the acts herein alleged.
26         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
27   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
28   Defendants, and/or was acting in concert with each of the other Defendants, and in doing



                                    COMPLAINT FOR DAMAGES - 2
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 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                  FACTUAL ALLEGATIONS
 8         9.     On or about January 9, 2020, Plaintiff went to the Business. On or about
 9   February 20, 2020, Plaintiff returned to the Business. The Business is a restaurant
10   business establishment, which is open to the public, is a place of public accommodation
11   and affects commerce through its operation.
12         10.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business. To the extent
15   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16   limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to provide any parking space designated for persons with
20                       disabilities.
21                b.     Defendants failed to comply with the federal and state standards for
22                       the parking space designated for persons with disabilities. Defendants
23                       failed to provide the parking space identification sign with the
24                       International Symbol of Accessibility.
25                c.     Defendants failed to comply with the federal and state standards for
26                       the parking space designated for persons with disabilities. Defendants
27                       failed to post required signage such as “Van Access,” “Minimum Fine
28                       $250” or “Unauthorized Parking.”



                                    COMPLAINT FOR DAMAGES - 3
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 1
 2                d.     Defendants failed to maintain the parking space designated for
 3                       persons with disabilities to comply with the federal and state
 4                       standards. Defendants failed to provide proper van accessible space
 5                       designated for the persons with disabilities.
 6                e.     Defendant failed to maintain the parking space designated for persons
 7                       with disabilities to comply with the federal and state standards.
 8                       Defendants failed to paint the ground as required.
 9                f.     Defendants failed to maintain the parking space designated for
10                       persons with disabilities to comply with the federal and state
11                       standards. Defendants failed to mark the space with the International
12                       Symbol of Accessibility.
13                g.     Defendant failed to maintain the parking space designated for persons
14                       with disabilities to comply with the federal and state standards.
15                       Defendants failed to provide a proper ramp for the persons with
16                       disabilities.
17         11.    These barriers and conditions denied Plaintiff the full and equal access to the
18   Business. Plaintiff wishes to patronize the Business again as it is conveniently located
19   for Plaintiff. However, Plaintiff is deterred from visiting the Business because his
20   knowledge of these violations prevents him from returning until the barriers are removed.
21         12.    Based on the violations, Plaintiff alleges, on information and belief, that
22   there are additional barriers to accessibility at the Business after further site inspection.
23   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
24   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
25         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
26   knew that particular barriers render the Business inaccessible, violate state and federal
27   law, and interfere with access for the physically disabled.
28




                                    COMPLAINT FOR DAMAGES - 4
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 1         14.    At all relevant times, Defendants had and still have control and dominion
 2   over the conditions at this location and had and still have the financial resources to
 3   remove these barriers without much difficulty or expenses to make the Business
 4   accessible to the physically disabled in compliance with ADDAG and Title 24
 5   regulations. Defendants have not removed such barriers and have not modified the
 6   Business to conform to accessibility regulations.
 7                                   FIRST CAUSE OF ACTION
 8       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 9         15.    Plaintiff incorporates by reference each of the allegations in all prior
10   paragraphs in this complaint.
11         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
12   shall be discriminated against on the basis of disability in the full and equal enjoyment of
13   the goods, services, facilities, privileges, advantages, or accommodations of any place of
14   public accommodation by any person who owns, leases, or leases to, or operates a place
15   of public accommodation. See 42 U.S.C. § 12182(a).
16         17.    Discrimination, inter alia, includes:
17                a.     A failure to make reasonable modification in policies, practices, or
18                       procedures, when such modifications are necessary to afford such
19                       goods, services, facilities, privileges, advantages, or accommodations
20                       to individuals with disabilities, unless the entity can demonstrate that
21                       making such modifications would fundamentally alter the nature of
22                       such goods, services, facilities, privileges, advantages, or
23                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
24                b.     A failure to take such steps as may be necessary to ensure that no
25                       individual with a disability is excluded, denied services, segregated or
26                       otherwise treated differently than other individuals because of the
27                       absence of auxiliary aids and services, unless the entity can
28                       demonstrate that taking such steps would fundamentally alter the



                                     COMPLAINT FOR DAMAGES - 5
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 1                       nature of the good, service, facility, privilege, advantage, or
 2                       accommodation being offered or would result in an undue burden. 42
 3                       U.S.C. § 12182(b)(2)(A)(iii).
 4                c.     A failure to remove architectural barriers, and communication barriers
 5                       that are structural in nature, in existing facilities, and transportation
 6                       barriers in existing vehicles and rail passenger cars used by an
 7                       establishment for transporting individuals (not including barriers that
 8                       can only be removed through the retrofitting of vehicles or rail
 9                       passenger cars by the installation of a hydraulic or other lift), where
10                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
11                d.     A failure to make alterations in such a manner that, to the maximum
12                       extent feasible, the altered portions of the facility are readily
13                       accessible to and usable by individuals with disabilities, including
14                       individuals who use wheelchairs or to ensure that, to the maximum
15                       extent feasible, the path of travel to the altered area and the
16                       bathrooms, telephones, and drinking fountains serving the altered
17                       area, are readily accessible to and usable by individuals with
18                       disabilities where such alterations to the path or travel or the
19                       bathrooms, telephones, and drinking fountains serving the altered
20                       area are not disproportionate to the overall alterations in terms of cost
21                       and scope. 42 U.S.C. § 12183(a)(2).
22         18.    Where parking spaces are provided, accessible parking spaces shall be
23   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
24   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
25   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
26   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
27   be van parking space. 2010 ADA Standards § 208.2.4.
28




                                   COMPLAINT FOR DAMAGES - 6
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 1         19.    Under the ADA, the method and color of marking are to be addressed by
 2   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 3   Building Code (“CBC”), the parking space identification signs shall include the
 4   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 5   with a minimum area of 70 square inches. Additional language or an additional sign
 6   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 7   parking space identification sign shall be permanently posted immediately adjacent and
 8   visible from each parking space, shall be located with its centerline a maximum of 12
 9   inches from the centerline of the parking space and may be posted on a wall at the
10   interior end of the parking space. See CBC § 11B-502.6, et seq.
11         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
12   each entrance to an off-street parking facility or immediately adjacent to on-site
13   accessible parking and visible from each parking space. The additional sign shall not be
14   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
15   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
16   designated accessible spaces not displaying distinguishing placards or special license
17   plates issued for persons with disabilities will be towed always at the owner’s expense…”
18   See CBC § 11B-502.8, et seq.
19         21.    Here, Defendants failed to provide the parking space identification sign with
20   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
21   stating “Minimum fine $250” or “Van Accessible.” Moreover, Defendants failed to
22   provide the additional sign with the specific languages stating “Unauthorized vehicles
23   parked in designated accessible spaces not displaying distinguishing placards or special
24   license plates issued for persons with disabilities will be towed always at the owner’s
25   expense…”
26         22.    For the parking spaces, access aisles shall be marked with a blue painted
27   borderline around their perimeter. The area within the blue borderlines shall be marked
28   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting



                                   COMPLAINT FOR DAMAGES - 7
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 1   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 2   be painted on the surface within each access aisle in white letters a minimum of 12 inches
 3   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 4   11B-502.3.3.
 5         23.    Here, Defendants failed to properly maintain the access aisles as there was
 6   no “NO PARKING” or blue lines painted on the parking surface. Moreover, Defendants
 7   failed to provide the access aisle with the minimum width of 96 inches.
 8         24.    The surface of each accessible car and van space shall have surface
 9   identification complying with either of the following options: The outline of a profile
10   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
11   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
12   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
13   length of the parking space and its lower side or corner aligned with the end of the
14   parking space length or by outlining or painting the parking space in blue and outlining
15   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
16   occupant. See CBC § 11B-502.6.4, et seq.
17         25.    Here, Defendants failed to paint the International Symbol of Accessibility on
18   the surface as required.
19         26.    The cross slope of ramp surfaces shall be no greater than 1:50. Ramp
20   surfaces shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-
21   offs shall have curbs, walls, railings, or projecting surfaces that prevent people from
22   slipping off the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards §
23   4.8.7. Outdoor ramps and their approaches shall be designed so that water will not
24   accumulate on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces
25   along accessible routes and in accessible rooms and spaces including floors, walks,
26   ramps, stairs, and curb ramps, shall be stable, firm, slip-resistant, and shall comply with
27   4.5. 1991 Standards § 4.5.1.
28




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 1         27.    Here, Defendants failed to provide a compliant ramp for the access aisle to
 2   the entrance as there were only stairs.
 3         28.    A public accommodation shall maintain in operable working condition those
 4   features of facilities and equipment that are required to be readily accessible to and usable
 5   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 6   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 7   violation of Plaintiff’s rights under the ADA and its related regulations.
 8         29.    The Business has denied and continues to deny full and equal access to
 9   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
10   discriminated against due to the lack of accessible facilities, and therefore, seeks
11   injunctive relief to alter facilities to make such facilities readily accessible to and usable
12   by individuals with disabilities.
13                                SECOND CAUSE OF ACTION
14                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
15         30.    Plaintiff incorporates by reference each of the allegations in all prior
16   paragraphs in this complaint.
17         31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
18   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
19   national origin, disability, medical condition, genetic information, marital status, sexual
20   orientation, citizenship, primary language, or immigration status are entitled to the full
21   and equal accommodations, advantages, facilities, privileges, or services in all business
22   establishments of every kind whatsoever.”
23         32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
24   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
25   for each and every offense for the actual damages, and any amount that may be
26   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
27   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
28




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 1    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2    person denied the rights provided in Section 51, 51.5, or 51.6.
 3          33.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5    shall also constitute a violation of this section.”
 6          34.    The actions and omissions of Defendants alleged herein constitute a denial
 7    of full and equal accommodation, advantages, facilities, privileges, or services by
 8    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10    51 and 52.
11          35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13    damages as specified in California Civil Code §55.56(a)-(c).
14                                   THIRD CAUSE OF ACTION
15                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16          36.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19    entitled to full and equal access, as other members of the general public, to
20    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25    places of public accommodations, amusement, or resort, and other places in which the
26    general public is invited, subject only to the conditions and limitations established by
27    law, or state or federal regulation, and applicable alike to all persons.
28




                                     COMPLAINT FOR DAMAGES - 10
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 1          38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2    corporation who denies or interferes with admittance to or enjoyment of public facilities
 3    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5    the actual damages, and any amount as may be determined by a jury, or a court sitting
 6    without a jury, up to a maximum of three times the amount of actual damages but in no
 7    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8    determined by the court in addition thereto, suffered by any person denied the rights
 9    provided in Section 54, 54.1, and 54.2.
10          39.    California Civil Code § 54(d) specifies, “a violation of the right of an
11    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12    constitute a violation of this section, and nothing in this section shall be construed to limit
13    the access of any person in violation of that act.
14          40.    The actions and omissions of Defendants alleged herein constitute a denial
15    of full and equal accommodation, advantages, and facilities by physically disabled
16    persons within the meaning of California Civil Code § 54. Defendants have
17    discriminated against Plaintiff in violation of California Civil Code § 54.
18          41.    The violations of the California Disabled Persons Act caused Plaintiff to
19    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20    statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                 FOURTH CAUSE OF ACTION
22                                 UNFAIR COMPETITION ACT
23          42.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          43.    Defendants have engaged in unfair competition, unfair or fraudulent
26    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
27    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
28




                                    COMPLAINT FOR DAMAGES - 11
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 1           44.    Defendants engage in business practices and policies that create systemic
 2    barriers to full and equal access for people with disability in violation of state and federal
 3    law.
 4           45.    The actions and omissions of Defendants are unfair and injurious to
 5    Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
 6    unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
 7    provided with goods and services provided to other consumers. Plaintiff seeks relief
 8    necessary to prevent Defendants’ continued unfair business practices and policies and
 9    restitution of any month that Defendants acquired by means of such unfair competition,
10    including profits unfairly obtained.
11                                    FIFTH CAUSE OF ACTION
12                                           NEGLIGENCE
13           46.    Plaintiff incorporates by reference each of the allegations in all prior
14    paragraphs in this complaint.
15           47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
16    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
17    to the Plaintiff.
18           48.    Defendants breached their duty of care by violating the provisions of ADA,
19    Unruh Civil Rights Act and California Disabled Persons Act.
20           49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
21    has suffered damages.
22
23                                      PRAYER FOR RELIEF
24           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
25    Defendants as follows:
26           1.     For preliminary and permanent injunction directing Defendants to comply
27    with the Americans with Disability Act and the Unruh Civil Rights Act;
28




                                    COMPLAINT FOR DAMAGES - 12
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 1          2.     Award of all appropriate damages, including but not limited to statutory
 2    damages, general damages and treble damages in amounts, according to proof;
 3          3.     Award of all reasonable restitution for Defendants’ unfair competition
 4    practices;
 5          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 6    action;
 7          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 8          6.     Such other and further relief as the Court deems just and proper.
 9
10                               DEMAND FOR TRIAL BY JURY
11          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
12    demands a trial by jury on all issues so triable.
13
14    Dated: June 5, 2020                     SO. CAL. EQUAL ACCESS GROUP
15
16
17                                            By:   _/s/ Jason Yoon_______________
                                                    Jason Yoon, Esq.
18                                            Attorneys for Plaintiff
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                                    COMPLAINT FOR DAMAGES - 13
